Case 5:23-mj-05282-MAS
     Case 4:23-cr-00218 *SEALED*
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                                                                                      Eastern District of Kentucky
                           UNITED STATES DISTRJCT COURT                                        FR IL IE
                           EASTERN DISTRJCT OF KENTUCKY
                                    DIVISION AT                                             AUG O 8
                                                                                              AT LEXINGTON
                                                                                            ROBERT R. CARR
                                  OATH TO INTERPRETER                                   CLERK U.S. DISTRICT COURT

          Do you solemnly swear or affirm that you will interpret faithfully and accurately in this
   matter now before the comt; do you so swear or affirm?




                                                        INTERP�
                                                             �                *
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                                                        (Print Name)

    Subscribed and sworn to before me this   l day of A 1At:)US4:-· , 20_
                                                        ROBERT R. CARR, CLERK




   Date of Service:
   Language:


   Case No:
   Proceeding:                                 Judge:    )   h (Wir" / /      Start Time: ·) () (V\
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   Proceeding:                                 Judge:- - -             -    - Start Time:




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